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 6   MINDEN PICTURES, INC.

 7

 8

 9                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

11   MINDEN PICTURES, INC.,                      Civil Action No. 2:24-cv-00962

12                 PLAINTIFF,                    COMPLAINT
13   v.
14
     SALT WATER HIGH, LLC d/b/a
15   WAVE TRIBE,

16

17
                 Defendant.

18

19

20         Plaintiff Minden Pictures, Inc. (“Plaintiff”) sues defendant Salt Water High,
21
     LLC d/b/a Wave Tribe (“Defendant”), and alleges as follows:
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23

24


                                             1
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 1                                      THE PARTIES
 2
            1.      Plaintiff is a corporation organized and existing under the laws of
 3
      the State of California with its principal place of business located in Aptos,
 4

 5    California.

 6          2.      Defendant is a limited liability company organized and existing under
 7
      the laws of the State of California with its principal place of business located at
 8
      201 Bryant Street, #4A, Ojai, CA 93023. Defendant’s agent for service of process
 9
      is Derek Dodds, 1129 Maricopa Hwy, #175, Ojai, CA 93023.
10

11                             JURISDICTION AND VENUE

12         3.       This Court has subject matter jurisdiction over this action pursuant to
13
      28 U.S.C. §§ 1331 and 1338(a).
14
           4.       This Court has jurisdiction over Defendant because it has maintained
15
      sufficient minimum contacts with California such that the exercise of jurisdiction
16

17
      over it would not offend traditional notions of fair play and substantial justice.

18         5.       Venue properly lies in this district pursuant to 28 U.S.C. § 1400(a)
19    because Defendant or its agents reside or may be found in this district. “The Ninth
20
      Circuit has interpreted Section 1400(a) to mean that venue is proper in any judicial
21
      district in which the defendant would be amenable to personal jurisdiction.”
22
      Righthaven LLC v. Inform Techs., Inc., No. 2:11-CV-00053-KJD-LRL, 2011
23

24    U.S. Dist. LEXIS 119379, at *8 (D. Nev. Oct. 14, 2011) (citing Brayton Purcell

                                                2
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 1    LLP v. Recordon & Recordon, 606 F.3d 1124, 1128 (9th Cir. 2010)).
 2
                                            FACTS
 3
     I.     Plaintiff’s Business
 4
            6.    Plaintiff is recognized as a premier provider of rights managed
 5

 6    wildlife and nature stock photography/feature stories.

 7          7.    Plaintiff’s collection covers key aspects of natural history, ecology,
 8
      biodiversity, and endangered species from all continents including many remote
 9
      and isolated regions.
10
            8.    Plaintiff also features images of human interaction with the natural
11

12    world highlighting scientific research, conservation, environmental issues,

13    indigenous peoples, and eco-travel.
14
            9.    Plaintiff serves as the exclusive licensing agent for the numerous
15
      professional photographers whose work Plaintiff represents, including but not
16
      limited to the work at issue in this lawsuit.
17

18
      II.   The Work at Issue in this Lawsuit

19          A.    The First Photograph

20          10.   Konrad Wothe is one of many photographers represented by Minden
21
      Pictures, Inc. (see https://www.mindenpictures.com/favorites/photographer-
22
      portfolios/konrad-wothe.html).
23
             11. Mr. Wothe began taking photographs at the age of eight when he
24


                                               3
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 1    received his first basic camera. At the tender age of 18, he won first prize in the
 2
      "Jugend forscht" competition for building a 360-degree panoramic camera.
 3
               12. For over 20 years Mr. Wothe has been working as a freelance nature
 4

 5    photographer and filmmaker all over the world. He has photographed animals,

 6    plants, landscapes and more at many of the most beautiful sites between the Arctic
 7
      and the Antarctic. Mr. Wothe’s main focus is to document animals in their natural
 8
      habitat, exhibiting their particular character and typical behavior. His recent work
 9
      focuses on the world's rainforests and in an effort to draw attention to this essential
10

11    biosphere he has been presenting educational slide presentations over the past few

12    years.
13
               13. In 2000, Mr. Wothe created a professional photograph of a Gray
14
      Whale (Eschrichtius robustus) breaching while tourists watch titled “00192378”
15
      (the “First Photograph”). A copy of the First Photograph is displayed below:
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12          14.      The First Photograph was registered by Plaintiff with the Register of
13
     Copyrights on February 3, 2000, and was assigned Registration No. VA 989-917.
14
     A true and correct copy of the Certificate of Registration pertaining to the First
15
     Photograph is attached hereto as Exhibit “A.”
16

17          15.      Plaintiff is the owner of the First Photograph and has remained the

18   owner at all times material hereto.
19           B.      Second Photograph
20
            16.      Fred Bavendam is one of many photographers represented by Plaintiff
21
     (see         https://www.mindenpictures.com/favorites/photographer-portfolios/fred-
22
     bavendam.html).
23

24          17.      Mr. Bavendam is a passionate photographer of marine animals. He

                                                5
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 1   attended the University of New Hampshire from which he graduated with majors
 2
     in art and zoology. He spent the next few years working as a commercial
 3
     photographer. At the age of 28, Mr. Bavendam took an introductory scuba course
 4
     and began diving and taking underwater pictures as a hobby. Over time, the hobby
 5

 6   became an obsession until he abandoned commercial photography to devote all his

 7   efforts to underwater photography in 1985.
 8
          18.     His definitive photo essays about manatees, the giant octopus,
 9
     crinoids, and frogfishes were each published in National Geographic, Geo
10
     Germany, and Geo France. Additional stories on cuttlefish, nudibranchs, sea stars,
11

12   monkfish, and marine animal behavior have appeared in many other magazines

13   such as Figaro, Terre Sauvage, Airone, International Wildlife, Smithsonian,
14
     Newton, and Quark. He has also won several BBC Wildlife Photographer of the
15
     Year contests.
16
          19.     In 2000, Mr. Bavendam created a professional photograph of a Pacific
17

18
     Giant Octopus (Enteroctopus dofleini) scurrying across the ocean floor as it forages

19   for crabs at Quadra Island, British Columbia, Canada titled “00153037” (the

20   “Second Photograph”). A copy of the Second Photograph is displayed below:
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12        20.     The Second Photograph was registered by Plaintiff with the Register

13   of Copyrights on February 3, 2000 and was assigned Registration No. VA 989-
14
     919. A true and correct copy of the Certificate of Registration pertaining to the
15
     Second Photograph is attached hereto as “Exhibit A.”
16
          21.     Plaintiff is the owner of the Second Photograph and has remained the
17

18   owner at all times material hereto.

19        22.     The First Photograph and the Second Photograph are collectively
20
     referred to herein as the “Work.”
21
          23.     For all times relevant to this action, Plaintiff has been appointed as
22
     the exclusive licensing agent and publisher of all copyright rights in and to the
23

24
     Work. As such, Plaintiff is entitled to institute and maintain this action for

                                              7
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 1   copyright infringement. See 17 U.S.C. § 501(b).
 2
     II.    Defendant’s Unlawful Activities
 3
           24.     Defendant is an online merchant that markets and sells eco-friendly
 4
     surf merchandise.
 5

 6         25.     Defendant advertises/markets its business through its website

 7   (https://www.wavetribe.com/),                 social            media              (e.g.,
 8
     https://www.facebook.com/wavetribe/), and other forms of advertising.
 9
           26.     On May 5, 2019 and March 1, 2020 (after Plaintiff’s above-referenced
10
     copyright registration of the Work), Defendant published and/or displayed copies
11

12   of    the    Work   on   its   website,   webpage,     and/or     social   media     (at

13   https://www.wavetribe.com/blogs/eco/california-spring-is-whale-watching-time):
14

15

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22

23
            and      https://www.wavetribe.com/blogs/eco/your-ultimate-guide-to-the-
24
            oceans-most-nurturing-moms
                                               8
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           27.   A true and correct copy of screenshots of Defendant’s website,

18    webpage, and/or social media, displaying the copyrighted Work, is attached

19    hereto as Exhibit “B.”
20
           28.   Defendant is not and has never been licensed to use or display the
21
      Work. Defendant never contacted Plaintiff to seek permission to use the Work in
22
      connection with its business or for any other purpose.
23

24         29.   Defendant utilized the Work for commercial use.

                                             9
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 1          30.    Upon information and belief, Defendant located a copy of the Work
 2
       on the Internet and rather than contact Plaintiff to secure a license, simply copied
 3
       the Work for its own commercial use.
 4
            31.    Through its ongoing diligent efforts to identify unauthorized use of its
 5

 6     photographs, Plaintiff discovered Defendant’s unauthorized use/display of the

 7     Work on March 10, 2022. Following Plaintiff’s discovery, Plaintiff notified
 8
       Defendant in writing of such unauthorized use. To date, Plaintiff has been unable
 9
       to negotiate a reasonable license for the past/existing infringement of the Work.
10
            32.    All conditions precedent to this action have been performed or have
11

12     been waived.

13                     COUNT I – COPYRIGHT INFRINGEMENT
14
            33.    Plaintiff re-alleges and incorporates paragraphs 1 through 32 as set
15
       forth above.
16

17
            34.    Each photograph comprising the Work is an original work of

18    authorship, embodying copyrightable subject matter, that is subject to the full
19    protection of the United States copyright laws (17 U.S.C. § 101 et seq.).
20
            35.    Plaintiff owns valid copyrights in each photograph comprising the
21
      Work, having registered the Work with the Register of Copyrights and owning
22
      sufficient rights, title, and interest to such copyright to afford Plaintiff standing to
23

24    bring this lawsuit and assert the claim(s) herein.

                                                 10
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 1          36.    As a result of Plaintiff’s reproduction, distribution, and public display
 2
      of the Work, Defendant had access to the Work prior to its own reproduction,
 3
      distribution, and public display of the Work on its website, webpage, and/or social
 4
      media.
 5

 6          37.    Defendant reproduced, distributed, and publicly displayed the Work

 7    without authorization from Plaintiff.
 8
            38.    By its actions, Defendant infringed and violated Plaintiff’s exclusive
 9
      rights in violation of the Copyright Act, 17 U.S.C. § 501, by reproducing,
10
      distributing, and publicly displaying the Work for its own commercial purposes.
11

12          39.    Defendant’s infringement was willful as it acted with actual

13    knowledge or reckless disregard for whether its conduct infringed upon Plaintiff’s
14
      copyright. Notably, Defendant itself utilizes a copyright disclaimer on its website
15
      (“© 2023 Wave Tribe | Share The Stoke ®”), indicating that Defendant
16
      understands the importance of copyright protection/intellectual property rights and
17

18
      is actually representing that it owns each of the photographs published on its

19    website. See, e.g., Bell v. ROI Prop. Grp. Mgmt., LLC, No. 1:18-cv-00043-TWP-

20    DLP, 2018 U.S. Dist. LEXIS 127717, at *3 (S.D. Ind. July 31, 2018) (“[T]he
21
      willfulness of ROI’s infringement is evidenced by the fact that at the bottom of the
22
      webpage on which the Indianapolis photograph was unlawfully published
23
      appeared the following: ‘Copyright © 2017.’ By placing a copyright mark at the
24


                                               11
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 1    bottom of its webpage that contained Mr. Bell’s copyrighted Indianapolis
 2
      Photograph, Mr. Bell asserts ROI willfully infringed his copyright by claiming that
 3
      it owned the copyright to everything on the webpage.”); John Perez Graphics &
 4
      Design, LLC v. Green Tree Inv. Grp., Inc., Civil Action No. 3:12-cv-4194-M, 2013
 5

 6    U.S. Dist. LEXIS 61928, at *12-13 (N.D. Tex. May 1, 2013) (“Once on

 7    Defendant’s website, Defendant asserted ownership of Plaintiff's Registered Work
 8
      by including a copyright notice at the bottom of the page. Based on these
 9
      allegations, the Court finds Plaintiff has sufficiently pled a willful violation….”).
10
      Defendant clearly understands that professional photography such as the Work is
11

12    generally paid for and cannot simply be copied from the internet.

13          40.    Plaintiff has been damaged as a direct and proximate result of
14
      Defendant’s infringement.
15
            41.    Plaintiff is entitled to recover its actual damages resulting from
16
      Defendant’s unauthorized use of the Work and, at Plaintiff’s election (pursuant to
17

18
      17 U.S.C. § 504(b)), Plaintiff is entitled to recover damages based on a

19    disgorgement of Defendant’s profits from infringement of the Work, which

20    amounts shall be proven at trial.
21
            42.    Alternatively, and at Plaintiff’s election, Plaintiff is entitled to
22
      statutory damages pursuant to 17 U.S.C. § 504(c), in such amount as deemed
23
      proper by the Court.
24


                                               12
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 1          43.     Pursuant to 17 U.S.C. § 505, Plaintiff is further entitled to recover its
 2
      costs and attorneys’ fees as a result of Defendant’s conduct.
 3
            44.     Defendant’s conduct has caused, and any continued infringing
 4
      conduct will continue to cause, irreparable injury to Plaintiff unless enjoined by
 5

 6    the Court. Plaintiff has no adequate remedy at law. Pursuant to 17 U.S.C. § 502,

 7    Plaintiff is entitled to a permanent injunction prohibiting infringement of Plaintiff’s
 8
      exclusive rights under copyright law.
 9
            WHEREFORE, Plaintiff demands judgment against Defendant as follows:
10
         a. A declaration that Defendant has infringed Plaintiff’s copyrights in the
11

12          Work;

13       b. A declaration that such infringement is willful;
14
         c. An award of actual damages and disgorgement of profits as the Court deems
15
            proper or, at Plaintiff’s election, an award of statutory damages for willful
16
            infringement up to $150,000.00 for each photograph comprising the Work;
17

18
         d. Awarding Plaintiff its costs and reasonable attorneys’ fees pursuant to 17

19          U.S.C. § 505;

20       e. Awarding Plaintiff interest, including prejudgment interest, on the foregoing
21
            amounts;
22
         f. Permanently enjoining Defendant, its employees, agents, officers, directors,
23
            attorneys, successors, affiliates, subsidiaries and assigns, and all those in
24


                                                13
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 1          active concert and participation with Defendant, from directly or indirectly
 2
            infringing Plaintiff’s copyrights or continuing to display, transfer, advertise,
 3
            reproduce, or otherwise market any works derived or copied from the Work
 4
            or to participate or assist in any such activity; and
 5

 6       g. For such other relief as the Court deems just and proper.

 7                                  Demand For Jury Trial
 8
      Plaintiff demands a trial by jury on all issued so triable.
 9

10     DATED: February 5, 2024                       COPYCAT LEGAL PLLC
11

12                                                   By: /s/_Lauren M. Hausman .

13                                                   Lauren M. Hausman
                                                     Attorney for Plaintiff
14
                                                     Minden Pictures, Inc.
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